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 12                          UNITED STATES DISTRICT COURT

           CENTRAL DISTRICT OF CALIFORNIA,EASTERN DIVISION
 13

 14

 15
                                                       CaseNo.5:19-cv-00470
 16
      Jimmie Williams III

 17
                                 PLAINTIFF,            PLAINTIFF'S COMPLAINT
                                                       FOR DAMAGES FOR:
                       vs.
 18
                                                        1. VIOLATION OF 42
 19   SAN EERNARDINO COUNTY                                U.S.C. (FOURTH
      SHERIFF'S DEPARTMENT,a public                        AMENDMENT)-
 20
      entity;                                              UNREASONAELE
 21                                                        SEIZURE C'^June 27,
      COUNTY OF SAN EERNARDINO;a                           2018 Incident)
 22
      public entity;                                    2. VIOLATION OF 42 U.S.C.
 23                                                        § 1983(FOURTH
      CITY OF VICTORVILLE; a public entity;                AMENDMENT)-
 24                                                        UNREASONAELE
                                                           SEIZURE
 25   SHERIFF JOHN MCMAHON;                               [UNREASONAELE
      individually and in his official capacity as         INVESTIGATIVE STOP
 26                                                        AND UNREASONAELY
      Sheriff;                                             LONG SEIZURE]
 27

 28
                                PLAINTIFF'S COMPLAINT FOR DAMAGES-
                 WILLIAMS V. SAN BERNARDINO COUNTY SHERIFF'S DEPARTMENT,et al.
                                              1
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